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                             UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH CAROLINA

                         ANDERSON/GREENWOOD DIVISION




UNITED STATES OF AMERICA

              vs.                                       CASE NO. 8:19CR181

JAMAL DEMARCUS LATIMER




                                           PLEA


       The Defendant, JAMAL DEMARCUS LATIMER, acknowledges receipt of a copy of the

SUPERSEDING INDICTMENT and pleads GUILTY in open court to Count?         _ls_.



                                                        (Signed)   Defendant




Greenville, South Carolina
10/16/2019
